Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 1 of 91 PageID 8744




                                EXHIBIT 28
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 2 of 91 PageID 8745
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 3 of 91 PageID 8746
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 4 of 91 PageID 8747
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 5 of 91 PageID 8748
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 6 of 91 PageID 8749
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 7 of 91 PageID 8750
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 8 of 91 PageID 8751
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 9 of 91 PageID 8752
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 10 of 91 PageID 8753
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 11 of 91 PageID 8754
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 12 of 91 PageID 8755
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 13 of 91 PageID 8756
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 14 of 91 PageID 8757
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 15 of 91 PageID 8758
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 16 of 91 PageID 8759
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 17 of 91 PageID 8760
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 18 of 91 PageID 8761
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 19 of 91 PageID 8762
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 20 of 91 PageID 8763
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 21 of 91 PageID 8764
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 22 of 91 PageID 8765
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 23 of 91 PageID 8766
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 24 of 91 PageID 8767
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 25 of 91 PageID 8768
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 26 of 91 PageID 8769
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 27 of 91 PageID 8770
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 28 of 91 PageID 8771
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 29 of 91 PageID 8772
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 30 of 91 PageID 8773
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 31 of 91 PageID 8774
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 32 of 91 PageID 8775
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 33 of 91 PageID 8776
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 34 of 91 PageID 8777
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 35 of 91 PageID 8778
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 36 of 91 PageID 8779
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 37 of 91 PageID 8780
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 38 of 91 PageID 8781
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 39 of 91 PageID 8782
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 40 of 91 PageID 8783
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 41 of 91 PageID 8784
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 42 of 91 PageID 8785
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 43 of 91 PageID 8786
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 44 of 91 PageID 8787
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 45 of 91 PageID 8788
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 46 of 91 PageID 8789
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 47 of 91 PageID 8790
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 48 of 91 PageID 8791
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 49 of 91 PageID 8792
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 50 of 91 PageID 8793
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 51 of 91 PageID 8794
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 52 of 91 PageID 8795
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 53 of 91 PageID 8796
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 54 of 91 PageID 8797
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 55 of 91 PageID 8798
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 56 of 91 PageID 8799
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 57 of 91 PageID 8800
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 58 of 91 PageID 8801
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 59 of 91 PageID 8802
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 60 of 91 PageID 8803
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 61 of 91 PageID 8804
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 62 of 91 PageID 8805
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 63 of 91 PageID 8806
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 64 of 91 PageID 8807
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 65 of 91 PageID 8808
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 66 of 91 PageID 8809
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 67 of 91 PageID 8810
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 68 of 91 PageID 8811
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 69 of 91 PageID 8812
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 70 of 91 PageID 8813
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 71 of 91 PageID 8814
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 72 of 91 PageID 8815
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 73 of 91 PageID 8816
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 74 of 91 PageID 8817
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 75 of 91 PageID 8818
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 76 of 91 PageID 8819
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 77 of 91 PageID 8820
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 78 of 91 PageID 8821
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 79 of 91 PageID 8822
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 80 of 91 PageID 8823
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 81 of 91 PageID 8824
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 82 of 91 PageID 8825
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 83 of 91 PageID 8826
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 84 of 91 PageID 8827
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 85 of 91 PageID 8828
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 86 of 91 PageID 8829
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 87 of 91 PageID 8830
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 88 of 91 PageID 8831
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 89 of 91 PageID 8832
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 90 of 91 PageID 8833
Case 3:15-cv-01143-BJD-JBT Document 208-29 Filed 09/10/18 Page 91 of 91 PageID 8834
